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                         1    RUSS, AUGUST & KABAT
                              Benjamin T. Wang (SBN 228712)
                         2    bwang@raklaw.com
                         3    James S. Tsuei (SBN 285530)
                              jtsuei@raklaw.com
                         4    12424 Wilshire Boulevard, 12th Floor
                         5    Los Angeles, California 90025
                              Telephone: (310) 826-7474
                         6    Facsimile: (310) 826-6991
                         7
                              MORRIS, MANNING & MARTIN, L.L.P.
                         8
                              Lawrence H. Kunin, Esq. (pro hac vice)
                         9    1600 Atlanta Financial Center
                              3343 Peachtree Road, N.E.
                        10
                              Atlanta, Georgia 30326
                        11    Telephone: (404) 233-7000
                              Facsimile: (404) 365-9532
RUSS, AUGUST & KABAT




                        12
                        13    Attorneys for Defendant
                        14    BITPAY, INC.

                        15
                                                        UNITED STATES DISTRICT COURT
                        16
                                                      CENTRAL DISTRICT OF CALIFORNIA
                        17
                                                                    WESTERN DIVISION
                        18
                              OX LABS, INC.,                                 Case No. 2:18-cv-05934-MWF-KS
                        19
                        20
                                                      Plaintiff,             DEFENDANT BITPAY, INC.’S
                                                                             RESPONSE TO PLAINTIFF’S
                        21    vs.                                            MOTION IN LIMINE NO. 2
                        22    BITPAY, INC. and Does 1-10,                    TO PRECLUDE EVIDENCE
                                                                             OF BITPAY’S PURPORTED
                        23                            Defendants.            GOOD FAITH, LACK OF
                        24                                                   WRONGFUL INTENT, OR
                                                                             MISTAKE
                        25
                        26                                                   Pretrial Conf: November 18, 2019
                                                                             Time: 11:00 A.M.
                        27                                                   Dept.: 5A
                        28                                                   Trial: December 3, 2019

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                         1                   MEMORANDUM OF POINTS AND AUTHORITIES:
                         2    I.      INTRODUCTION
                         3            In its motion, Ox Labs attempts to avoid an issue central to the issue in this
                         4    case, in which it seeks equitable relief, thus bringing into relevance the weight of the
                         5    equities. Indeed, the claims as pled in Ox Labs’ own complaint are based on an error
                         6    by Ox Labs, the discovery of that error not by Ox Labs but by BitPay, and that BitPay
                         7    disclosed this error. Not knowing of the error, BitPay proceeded to execute trades of
                         8    the erroneously credited bitcoins, including trading the volumes connected to the
                         9    erroneous credit down to zero. Unlike every case cited by Ox Labs in which the
                        10    issue was return of a specific piece of identifiable property, or even a commodity
                        11    that it simply stored in a vault, the issue here is a credit for a commodity that was
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                        12    subject to immediate and frequent trading, and trading decisions. In other words,
                        13    Ox Labs seeks to use its own error to shift the burden of investment risk and
                        14    decision-making to BitPay, thus earning a windfall because the price of bitcoins
                        15    happened to increase and because BitPay happens to have other bitcoins that are not
                        16    connected to the error.
                        17            How the error occurred, and how it was discovered and disclosed, is certainly
                        18    relevant. Indeed, as noted, Ox Labs pled this in its complaint.
                        19    II.     ARGUMENT
                        20            A.      Ox Labs Points To No Specific Evidence – Indeed, It Took
                                              No Depositions – That May Be Subject To A Motion In
                        21
                                              Limine
                        22
                                      As stated in Mims v. Fed. Express Corp., No. CV 13-03947-AB (SSX), 2015
                        23
                              WL 12711651, at *1 (C.D. Cal. Jan. 15, 2015):
                        24              Motions in limine afford the court and counsel the opportunity to
                        25              give more deliberate consideration to specific objections
                                        to specific evidence. Colton Crane Co., LLC v. Terex Cranes
                        26              Wilmington, Inc., No. CV 08-8525-PSG (PJWx), 2010 WL
                        27              2035800, at *1 (C.D. Cal. May 19, 2010). They will not lie to
                                        exclude broad categories of evidence. See Liberal v. Estrada,
                        28
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                         1                  No. C 07-0024 SBA, 2011 WL 3956068, at *5. As one California
                                            court has succinctly observed, unless the motion
                         2                  identifies specific evidence it seeks to exclude and
                         3                  the specific reasons to exclude it, the court would be forced to
                                            “rule in a vacuum” on the admissibility of evidence. Kelly v. New
                         4                  West Federal Savings, 49 Cal.App.4th 659, 670, 56 Cal.Rptr.2d
                         5                  803 (Cal. Ct. App. 1996). If granted, such amorphous motions
                                            would “leav[e] the court and the parties to guess what [evidence]
                         6                  during trial may be included within the scope of the ruling.” Id.
                         7
                              See also Vago v. Cty. of Los Angeles, No. CV 13-868 DMG (RZX), 2015 WL
                         8
                              13697386, at *4 (C.D. Cal. Aug. 7, 2015):
                         9                Motions in limine should            refer    to specific evidence.
                        10                (See Scheduling and Case Management Order at 7
                                          (“Motions in limine should address specific issues (i.e., not “to
                        11                exclude all hearsay, etc.).”) [Doc. # 22].) The Court declines to
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                        12                consider        blanket        objections.     Counsel        may
                                          raise specific objections at trial.
                        13
                        14           Here, Ox Labs has not only cited no specific evidence it seeks to exclude, but
                        15    it took no depositions and is thus not in a position to cite specific evidence to exclude.
                        16           B.     Evidence Relating To Bitpay’s Good Faith Is Relevant To
                        17                  The Claims And Defenses In This Case
                                            1.     Evidence of BitPay’s good faith is relevant to Ox Labs’
                        18
                                                   Claims
                        19
                                     Ox Labs has not shown BitPay is liable for conversion and therefore BitPay’s
                        20
                              good faith is relevant to Ox Labs’ claims and its motion in limine should be denied.
                        21
                              Ox Labs cites Los Angeles Federal Credit Union v. Madatyan, to convey that
                        22
                              conversion is a strict liability tort. 209 Cal. App. 4th 1383, 1387 (2012). Ox Labs,
                        23
                              however, fails to meet the elements for conversion listed therein.                Although
                        24
                              Madatyan states that conversion is a strict liability tort, the preceding language in
                        25
                              the case states that one of the elements is “conversion by a wrongful act or
                        26
                              disposition of property rights.” Id. (emphasis supplied). Therefore, BitPay’s claim
                        27
                              that it acted in good faith and has committed no wrongdoing is directly relevant to
                        28
                              Ox Labs’ conversion claim, which it calls the “central claim at bar.”
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                         1            Disconnected from Ox Labs’ position is that the strict liability to which it
                         2    refers is simply the fact that BitPay should not retain what it erroneously received.
                         3    But, BitPay sold the bitcoin subject to the erroneous credit and BitPay has not only
                         4    agree to pay is profits therefrom, it has already issued such a payment. Nothing in
                         5    any case cited by Ox Labs stands for the proposition that good faith is irrelevant for
                         6    all purposes – including determining whether return of the property is possible or
                         7    available.
                         8            Even assuming arguendo that BitPay converted the 200 bitcoin, BitPay’s good
                         9    faith is relevant to the quasi-contractual remedy that Ox Labs seeks for the alleged
                        10    conversion. Ox Labs claims that BitPay was unjustly enriched and seeks restitution
                        11    of 200 bitcoin. There is no stand-alone unjust enrichment cause of action in
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                        12    California. Astiana v. Hain Celestial Grp., Inc., 783 F.3d 753, 762 (9th Cir. 2015).
                        13    Unjust enrichment is not a theory of recovery but an effect of the failure to make
                        14    restitution under certain circumstances when it is equitable to do so. Lauriedale
                        15    Assocs. Ltd. v. Wilson, 7 Cal. App. 4th 1439, 1448 (1992). “Restitution is not
                        16    mandated merely because one person realized a gain at another’s expense. Rather,
                        17    the obligation arises when the enrichment obtained lacks any adequate legal basis
                        18    and thus ‘cannot consciously be retained.’” A.J. Fistes Corp. v. GDL Best
                        19    Contractors, Inc., 38 Cal. App. 5th 677, 697 (2019).
                        20            California courts have “long” relied on the Restatements for guidance.
                        21    Professional Tax Appeal v. Kennedy-Wilson Holdings, Inc., 29 Cal. App. 5th 230,
                        22    240 (2018); see also Krueger v. Wyeth, Inc., 2019 WL 2743942 (C.D. Cal. July 1,
                        23    2019) (relying on California cases that cite the Restatement (Third) of Restitution).
                        24    The Restatement (Third) of Restitution and Unjust Enrichment § 50 (2011) provides
                        25    that “[a]n ‘innocent recipient’ is one who commits no misconduct in the transaction
                        26    concerned (§ 51) and who bears no responsibility for the unjust enrichment in
                        27    question (§ 52).” An innocent recipient of unrequested benefits may not be left
                        28
                               RESPONSE TO MOTION IN LIMINE NO. 2        3                     Case No. 2:18-cv-05934-MWF-KS
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                         1    worse off than if the transaction giving rise to the liability had not occurred. RTT §
                         2    50 (3).
                         3            Ox Labs’ request for the return of 200 bitcoin would do exactly that, as 200
                         4    bitcoin at the time of the transaction is substantially less than the value of the 200
                         5    bitcoin Ox Labs seeks now. Simply because Ox Labs erroneously credited BitPay
                         6    200 bitcoin, does not mean Ox Labs is entitled to the return of 200 bitcoin at present
                         7    value. See A.J. Fistes Corp., 38 Cal. App. 5th at 697. Thus, BitPay’s good faith and
                         8    status as an innocent recipient are critically relevant to this case and Ox Labs’ motion
                         9    in limine barring evidence of BitPay’s good faith should be denied. Cf. CRS
                        10    Recovery, Inc. v. Laxton, 600 F.3d 1138, 1145 (stating that under California law
                        11    there is a recognition of an innocent purchaser defense in actions for conversion).
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                        12            Moreover, the cases Ox Labs cites for the proposition that good faith is
                        13    immaterial to its claims for unjust enrichment and restitution do not support its
                        14    position. In FDIC v. Dintino, 167 Cal. App. 4th 333, 346 (2008), the court stated
                        15    the unjust enrichment remedy was created to “restore the aggrieved party to his or
                        16    her former position by return of the thing or its equivalent sum in money.” As noted
                        17    above, Ox Labs is not put in its former position with 200 bitcoin, it would be much
                        18    better off. Insofar as Ox Labs seeks to benefit from its own error, BitPay’s good
                        19    faith is relevant. See RTT § 50; A.J. Fistes Corp., 38 Cal. App. 5th at 697.
                        20                    2.      Good faith is relevant to our affirmative defense
                                                      regarding the statute of limitations
                        21
                        22            Ox Labs also claims that BitPay’s good faith is irrelevant to BitPay’s
                        23    affirmative defenses. However, BitPay claims that the conversion took place, if at
                        24    all, at the moment Ox Labs credited 200 bitcoin to BitPay. The statute of limitations
                        25    runs once a wrongful taking occurs and is only tolled if there is fraudulent
                        26    concealment or a fiduciary relationship. See AmerUs Life Ins. Co. v. Bank of
                        27    America, N.A., 143 Cal. App. 4th 631, 639 (2006). Evidence of BitPay’s good faith
                        28    shows there was no fraudulent concealment and no fiduciary relationship has been

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                         1    alleged. Therefore, evidence of BitPay’s good faith is relevant to the statute of
                         2    limitations affirmative defense because it effects when the statute of limitations for
                         3    conversion begins to run.
                         4            C.      Evidence Relating To Bitpay’s Good Faith Is Not More
                                              Prejudicial Than Probative
                         5
                         6            As noted above, BitPay’s good faith and lack of mistake, even if not relevant
                         7    to whether BitPay is liable for conversion damages, is clearly relevant to rebut any
                         8    claim of restitution. As such, the evidence’s probative value is not substantially
                         9    outweighed by a danger of unfair prejudice and it is not misleading. See Fed. R.
                        10    Evid. 403. Ox Labs claims the jury may wonder whether the relief sought turns on
                        11    evidence of BitPay’s good faith in light of Ox Labs’ mistake, but that is exactly what
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                        12    the jury should do. See RTT § 50; A.J. Fistes Corp., 38 Cal. App. 5th at 697. Indeed,
                        13    any other result would enable the party committing an error to receive a windfall
                        14    from its own error and would shift the investment risk and decision-making to the
                        15    innocent party.
                        16            The cases Ox Labs relies on are distinguishable because whether the return of
                        17    200 bitcoin is warranted is the crux of our case, while in the cases Ox Labs cites the
                        18    excluded evidence is irrelevant. Ox Labs cites Cohn v. Papke, 655 F.2d 191, 194
                        19    (9th Cir. 1981), where the court states that unfair prejudice means “an undue
                        20    tendency to suggest decision on an improper basis ... including emotional ones.”
                        21    However, the Cohn court found undue prejudice in a civil rights case because
                        22    defendant’s counsel elicited testimony about the victim’s sexuality for the
                        23    impermissible purpose of showing that it was in plaintiff’s character to commit
                        24    homosexual acts. See id. United States v. Espinoza-Baza, 647 F.3d 1182, 1190 (9th
                        25    Cir. 2011) is also distinguishable because it was about how “minimally probative
                        26    evidence,” should be barred even if there is a small risk of misleading the jury. Here,
                        27    evidence of BitPay’s good faith is directly relevant to the issue of restitution and
                        28    therefore it is not unduly prejudicial to prevent evidence of it.

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                         2                                          Respectfully submitted,
                         3    DATED: November 4, 2019               RUSS, AUGUST & KABAT
                                                                    Benjamin T. Wang
                         4                                          James S. Tsuei
                         5                                          By: /s/ Benjamin T. Wang
                         6                                              Attorney for Defendant
                                                                        BitPay, Inc.
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                               RESPONSE TO MOTION IN LIMINE NO. 2   6                   Case No. 2:18-cv-05934-MWF-KS
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                         1                                 CERTIFICATE OF SERVICE
                         2            I hereby certify pursuant to the Federal Rules of Civil Procedure and LR 5-3
                         3    and 5-4 that the foregoing DEFENDANT BITPAY, INC.’S OPPOSITION TO
                         4    PLAINTIFF’S MOTION IN LIMINE NO. 2 TO PRECLUDE EVIDENCE OF
                         5    BITPAY’S PURPORTED GOOD FAITH, LACK OF WRONGFUL INTENT,
                         6    OR MISTAKE was served upon the attorney(s) of record for each party through
                         7    the ECF system as identified on the Notice of Electronic Filing on November 4,
                         8    2019.
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                        10
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                        12                                          By:     /s/ Benjamin T. Wang
                        13                                                Benjamin T. Wang

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                               RESPONSE TO MOTION IN LIMINE NO. 2          7                  Case No. 2:18-cv-05934-MWF-KS
